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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

 Case No. CV 16-5404-CBM (KSx)                                                    Date: September 7, 2022
 Title       FameFlynet, Inc. et al. v. Nice Kicks, LLC




 Present: The Honorable:         Karen L. Stevenson, United States Magistrate Judge


                    Gay Roberson                                            CS- 09/07/2022
                    Deputy Clerk                                       Court Reporter / Recorder

          Attorneys Present for Creditor:                           Attorneys Present for Debtor:
                 Tehniat Zaman                                                  N/A


 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE: FAILURE TO APPEAR
 FOR JUDGMENT DEBTOR EXAMINATION

         A Judgment Debtor Examination was scheduled for September 7, 2022, at 11:00 a.m.
 before Magistrate Judge Karen L. Stevenson. Counsel for creditor, Tehniat Zaman, made her
 appearance. Matthew David Halfhill, representative for Judgment Debtor, failed to appear for the
 Judgment Debtor Examination. 1

          Counsel for Creditor informed the Court that Mr. Halfhill currently resides in Texas.
 Further, the Proof of Service indicates that Nice Kick, LLC was served by mail in Austin, Texas
 with the Request to Continue Judgment Debtor Examination to today’s date. (See Dkt. No. 43.).
 Therefore, the Court requested that Judgement Creditor, within fourteen days (14) of the date of
 this Order, provide briefing, with supporting authorities, regarding the Court’s jurisdiction to issue
 an Order to Show Cause and/or impose sanctions against judgment creditor for its failure to appear.


 IT IS SO ORDERED.

                                                                                                         : 2 mins
                                                                         Initials of Preparer             gr




 1
         Judgment Debtor, Nice Kicks LLC, has not made any appearance in the action. (See Dkt No. 18 at p. 5.)


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